  Case 2:23-cv-01658-SVW-AGR Document 11 Filed 04/07/23 Page 1 of 1 Page ID #:35

                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
 Case No.         2:23-cv-01658-SVW-AGR                                            Date      April 7, 2023
 Title            OEC Group v. Black Dog Grow Technologies, Inc.




 Present: The Honorable             STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                Paul M. Cruz                                     N/A
                Deputy Clerk                           Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                              N/A                                                      N/A
 Proceedings:                 IN CHAMBERS - ORDER TO SHOW CAUSE WHY THIS CASE SHOULD
                              NOT BE DISMISSED FOR LACK OF PROSECUTION

         This Order is issued pursuant to FRCP 4(m), which requires that plaintiff(s) serve the summons and
complaint upon all defendants within 90 days after filing the complaint. The Court may dismiss the action
prior to the 90 days, however, if plaintiff(s) has/have not diligently prosecuted the action.

         It is the responsibility of plaintiff to respond promptly to all Orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time to respond. If necessary,
plaintiff(s) must also pursue Rule 55 remedies promptly upon default of any defendant. All stipulations
affecting the progress of the case must be approved by the Court, Local Rule 7-1.

         The file in this case lacks the papers that would show it is being timely prosecuted, as reflected
below. Accordingly, the Court, on its own motion, hereby orders plaintiff(s) to show cause in writing no
later than April 14, 2023 why this action should not be dismissed as to all remaining defendants for lack of
prosecution.

         As an alternative to a written response by plaintiff(s), the Court will accept one of the following, if it
is filed on or before the above date, as evidence that the matter is being prosecuted diligently.

         •          Proof of service of summons and complaint (applicable for defendant(s) who have not been
                    served);
         •          In cases removed from State Court, responsive pleadings filed by all defendants
         •          Request for entry of default by plaintiff(s) (applicable where defendants have been served but
                    not answered);
         •          Motion for default judgment.

         No oral argument of this matter will be heard unless ordered by the Court. The Order will stand
submitted upon the filing of a responsive pleading or motion on or before the date upon which a response by
plaintiff(s) is due.

                                                                                                      :
                                                                Initials of Preparer              PMC
CV-90 (06/04)                                   CIVIL MINUTES - GENERAL                                      Page 1 of 1
